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                     EXHIBIT 92
l efile GRAPHIC p rint - DO NOT PROCESS                             I As Filed Data - I                                                                                                      DLN: 93493318129457
                         Case 1:14-cv-14176-ADB
                                        r% f    Document 419-92 Filed 06/15/18 Page 2 ofOMB
                                                                                          29No                                                                                                                    1545-0047
                                           Return             Or ani72tinn Exam t From Income Tax
Form       990                                                     W                                                                1-
                                 Under section 501(c ), 527, or 4947 ( a)(1) of the Internal Revenue Code ( except private
                                 foundations)                                                                                                                                                             2016
Department                               ^ Do not enter social security numbers on this form as it may be made public
Internal Revenue Ser.ice                 ^ Information about Form 990 and its instructions is at www IRS gov/form990


A         For the 2016 calendar y ear, or tax y ear bei inning 01-01-2016                                   . and endina 12-31-2016
                             C Name of organization                                                                                                                                D Employer identification number
B Check if applicable
                               Students For Fair Admissions Inc
❑ Address change
                                                                                                                                                                                    XX-XXXXXXX
❑ Name change
❑ Initial return              Doing business as
  Final
- I II/ - I n naLeu                                                                                                                                                                L I eiepnune nurnuer
                              Number and street (or P O box if mail is not delivered to street address)                                          Room/suite
❑ Am ended return             2200 Wilson Blvd
                                                                                                                                                                                    (713) 626 7560
❑ Application pending
                              City or town, state or province, country, and ZIP or foreign postal code
                              Arlington, VA 22201
                                                                                                                                                                                   G Gross receipts $ 1,107,022

                             F Name and address of principal officer                                                                                          H(a) Is this a group return for
                             EDWARD BLUM
                             2200 Wilson Blvd102-13                                                                                                                subordinates?                                      2 No
                             Arlin g ton, VA 22201                                                                                                            H(b) Are all subordinates
                                                                                                                                                                   included?                                 ❑ Y es        o
I     Tax-exempt status      R
                                 501(c)(3)     ❑   501(c) (     ) A (insert no )           El 4947(a)(1) or                              El 527                         If "No," attach a list    ( see instructions )

J     Website : ^      N/A                                                                                                                                    H(c) Group exemption number ^


                                                                                                                                                           L Year of formation        2014    M State of legal domicile VA
K Form of organization       9 Corporation     ❑ Trust ❑ Association ❑ Other ^


ELi ^               Summary
             1 Briefly describe the organization's mission or most significant activities
               The purposes of the organization are to defend human and civil rights secured by law, including the right of individuals to equal protection
               under the law, through litigation and any other lawful means

ti




             2   Check this box ^ ❑ if the organization discontinued its operations or disposed of more than 25% of its net assets
             3   Number of voting members of the governing body (Part VI, line 1a) .      .   .   .  .   .   .                     3                                                                                           5
             4   Number of independent voting members of the governing body (Part VI, line 1b)                                                                                                      4                          4
             5   Total number of individuals employed in calendar year 2016 (Part V, line 2a)                                                                                                       5                          0
             6 Total number of volunteers (estimate if necessary)                  .        .       .                                                                                               6                          0
            7a Total unrelated business revenue from Part VIII, column (C), line 12                                                 .              .   .      .     .     .                        7a                          0
              b Net unrelated business taxable income from Form 990-T, line 34                                          .           .        .     .   .      .     .     .                        7b
                                                                                                                                                                              Prior Year                  Current Year
             8   Contributions and grants (Part VIII, line 1h)            .   .        .        .       .           .           .        .                                             826,664                      1,107,022
             9   Program service revenue (Part VIII, line 2g)                                                                                                                                                                  0
            10 Investment income (Part VIII, column (A), lines 3, 4, and 7d                                     .                                                                                                              0
            11 Other revenue (Part VIII, column (A), lines 5, 6d, 8c, 9c, 10c, and 11e)                                                                                                                                        0
            12 Total revenue-add lines 8 through 11 (must equal Part VIII, column (A), line 12)                                                                                        826,664                      1,107,022

            13 Grants and similar amounts paid (Part IX, column (A), lines 1-3                                              .                                                                                                  0
            14 Benefits paid to or for members (Part IX, column (A), line 4)                            .                                                                                                                      0
            15 Salaries, other compensation, employee benefits (Part IX, column (A), lines 5-10)                                                                                                                         48,000
            16a Professional fundraising fees (Part IX, column (A), line 11e)                                                                                                                                                  0
              b Total fundraising expenses (Part IX, column (D), line 25) 0,48,535

            17 Other expenses (Part IX, column (A), lines 11a-11d, llf-24e)                                 .                                                                          545,576                      1,214,178
            18 Total expenses Add lines 13-17 (must equal Part IX, column (A), line 25)                                                                                                545,576                      1,262,178
            19   Revenue less expenses Subtract line 18 from line 12                                                                                                                   281,088                        -155,156
     T                                                                                                                                                            Beginning of Current Year                End of Year


     'M     20 Total assets (Part X, line 16)      .                                                                                                                                   281,088                        125,932
            21 Total liabilities (Part X, line 26)                                                                                                                                                                             0
Z1          22   Net assets or fund balances Subtract line 21 from line 20                                                                                                             281,088                        125,932
                    Si g nature Block
Under penalties of perjury, I declare that I have examined this return, inclu
knowl edge and belief, it is true, correct, and complete Declaration of prepa
an y knowled g e


                    Signature of officer
Sign
Here                RICHARD FISHER TREASURER
                    Type or print name and title

                          Print/Type preparer's name                    Preparer's signature
                          RICHARD FISHER                                RICHARD FISHER
Paid
                          Firm's name      ^ MOORE TAX SERVICES INC
Preparer
                          Firm's address ^ 10106 KLECKLEY DR
Use Only
                                             HOUSTON, TX      770753417

May the IRS discuss this return with the preparer shown above? (see instrui
For Paperwork Reduction Act Notice, see the separate instructions.
Form 990 (2016)                                                                                                                                                                                                                                           Page 2
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              Statement of Program Service Accomplishments
              Check if Schedule 0 contains a response or note to any line in this Part III                                                             .        .       .       .       .           .       .       .           .   .   .    .   .    .     ❑
 1    Briefly describe the organization's mission
The purposes of the organization are to defend human and civil rights secured by law,




2     Did the organization undertake any significant program services during the year which were not listed on
      the prior Form 990 or 990-EZ?          .       .       .       .       .        .       .       .        .       .       .       .       .       .        .       .       .           .       .       .           .               ❑ Yes        9 No
      If "Yes," describe these new services on Schedule 0
3     Did the organization cease conducting, or make significant changes in how it conducts, any program
      services?   .    .    .   .   .    .       .       .       .       .        .       .       .        .       .       .       .       .       .       .        .       .       .           .       .       .           .               ❑ Yes     2 No
      If "Yes," describe these changes on Schedule 0
4     Describe the organization's program service accomplishments for each of its three largest program services, as measured by expenses
      Section 501(c)(3) and 501(c)(4) organizations are required to report the amount of grants and allocations to others, the total
      expenses, and revenue, if any, for each program service reported

4a    (Code                         ) (Expenses $                                1,188,086                including grants of $                                                         ) (Revenue $
      See Additional Data



4b    (Code                         ) (Expenses $                                                         including grants of $                                                         ) (Revenue $




4c    (Code                         ) (Expenses $                                                         including grants of $                                                         ) (Revenue $




4d    Other program services (Describe in Schedule 0
      (Expenses $                                            including grants of $                                                                             ) (Revenue $
4e    Total program service expenses 11o,                                             1,188,086
                                                                                                                                                                                                                                             Form 990 (2016)
Form 990 (2016)                                                                                                                                               Page 3
FTTITTM             Caseof1:14-cv-14176-ADB
                Checklist  Re q uired Schedules                 Document 419-92 Filed 06/15/18 Page 4 of 29
                                                                                                                                                       Yes    No
  1      Is the organization described in section 501(c)(3) or 4947(a)(1) (other than a private foundation)? If "Yes," complete                        Yes
         Schedule A . .       .   .   .   .   .   .   .   .   .  .   .   .   .   .  .   .    .   .  .                                          1

  2      Is the organization required to complete Schedule B, Schedule of Contributors (see instructions)?                                     2       Yes
  3      Did the organization engage in direct or indirect political campaign activities on behalf of or in opposition to candidates                           No
         for public office? If "Yes," complete Schedule C, Part I .     .  .   .    .   .   .   .   .    .   .   .                             3
  4      Section 501(c )( 3) organizations.
         Did the organization engage in lobbying activities, or have a section 501(h) election in effect during the tax year?
         If "Yes, " complete Schedule C, Part II .   .    .   .   .   .   .   .   .  .    .   .   .                                            4               No

  5      Is the organization a section 501(c)(4), 501(c)(5), or 501(c)(6) organization that receives membership dues,
         assessments , or similar amounts as defined in Revenue Procedure 98-19?
         If "Yes, " complete Schedule C, Part III .    .   .   .  .   .   .   .   .   .   .   .   .   .  .  .                                  5               No

  6      Did the organization maintain any donor advised funds or any similar funds or accounts for which donors have the right
         to provide advice on the distribution or investment of amounts in such funds or accounts?
         If "Yes, " complete Schedule D, Part I .    .   .   .   .  .   .   .   .  .   .   .   .   .  .   .   .                                6               No

  7      Did the organization receive or hold a conservation easement , including easements to preserve open space,
         the environment, historic land areas , or historic structures? If "Yes," complete Schedule D, Part II .                               7               No

  8      Did the organization maintain collections of works of art, historical treasures, or other similar assets?
         If "Yes, " complete Schedule D, Part III .    .  .    .   .    .    .   .   .   .   .   .                                             8               No

  9      Did the organization report an amount in Part X, line 21 for escrow or custodial account liability, serve as a custodian
         for amounts not listed in Part X, or provide credit counseling, debt management, credit repair, or debt negotiation
         services7If "Yes, " complete Schedule D, Part IV .      .   .   .  .   .  .   .   .   .   .    .    .                                 g               No

10       Did the organization, directly or through a related organization, hold assets in temporarily restricted endowments,                  10               No
         permanent endowments, or quasi-endowments? If "Yes," complete Schedule D, Part V .             .    .   .  .  .

11       If the organization's answer to any of the following questions is "Yes," then complete Schedule D, Parts VI, VII, VIII, IX,
         or X as applicable
     a   Did the organization report an amount for land, buildings, and equipment in Part X, line 10?
         If "Yes, " complete Schedule D, Part VI  .   .   .   .    .  .   .  .   .   .   .    .   .   .       .       .       .       .       I la             No

     b   Did the organization report an amount for investments-other securities in Part X, line 12 that is 5% or more of its total
         assets reported in Part X, line 16? If "Yes, " complete Schedule D, Part VII .                                                       lib              No

     c   Did the organization report an amount for investments-program related in Part X, line 13 that is 5% or more of its
         total assets reported in Part X, line 16? If "Yes," complete Schedule D, Part VIII .                                                 lic              No

     d   Did the organization report an amount for other assets in Part X, line 15 that is 5% or more of its total assets reported
         in Part X, line 16? If "Yes," complete Schedule D, Part IX .    .   .   .   .    .  .   .  .   .    .                                lld              No

     e   Did the organization report an amount for other liabilities in Part X, line 25? If "Yes," complete Schedule D, Part X
                                                                                                                                              lie              No
  f      Did the organization's separate or consolidated financial statements for the tax year include a footnote that addresses
                                                                                                                                              hlf              No
         the organization's liability for uncertain tax positions under FIN 48 (ASC 740)' If "Yes," complete Schedule D, Part X


12a Did the organization obtain separate, independent audited financial statements for the tax year?
    If "Yes," complete Schedule D, Parts XI and XII   .   .   .   .   .   .   .  .    .   .   .   .  .                    .       .       .   12a              No
     b   Was the organization included in consolidated, independent audited financial statements for the tax year?
                                                                                                                                              12b              No
         If "Yes, " and if the organization answered "No" to line 12a, then completing Schedule D, Parts XI and XII is optional
13       Is the organization a school described in section 170(b)(1)(A)(ii)7 If "Yes," complete Schedule E
                                                                                                                                              13               No
14a Did the organization maintain an office, employees, or agents outside of the United States?           .       .       .       .           14a              No
     b   Did the organization have aggregate revenues or expenses of more than $10,000 from grantmaking, fundraising,
         business, investment, and program service activities outside the United States, or aggregate foreign investments
         valued at $100,000 or more? If "Yes," complete Schedule F, Parts I and IV .     .   .   .   .   .   .  .                             14b              No

15       Did the organization report on Part IX, column (A), line 3, more than $5,000 of grants or other assistance to or for any
         foreign organization? If "Yes, " complete Schedule F, Parts II and IV .                                                              15               No

16       Did the organization report on Part IX, column (A), line 3, more than $5,000 of aggregate grants or other assistance to
         or for foreign individuals? If "Yes, " complete Schedule F, Parts III and IV . .  .                                                  16               No

17       Did the organization report a total of more than $15,000 of expenses for professional fundraising services on Part IX,               17               No
         column (A), lines 6 and lie? If "Yes, " complete Schedule G, PartI (see instructions) .    .       .
18       Did the organization report more than $15,000 total of fundraising event gross income and contributions on Part VIII,
         lines 1c and 8a' If "Yes," complete Schedule G, Part II .   .   .   .  .   .   .   .  .   .   .                                      18               No
19       Did the organization report more than $15,000 of gross income from gaming activities on Part VIII, line 9a? If "Yes,"
         complete Schedule G, Part III .    .  .   .  .    .   .  .   .  .   .  .   .    .   .   .   .    .                                   19               No

                                                                                                                                                     Form 990 (2016)
Form 990 (2016)                                                                                                                                       Page 4
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                Checklist of Required Schedules (continued)
                                                                                                                                               Yes    No
20a Did the organization operate one or more hospital facilities? If "Yes," complete Schedule H .                                      20a             No
     b   If "Yes" to line 20a, did the organization attach a copy of its audited financial statements to this return?
                                                                                                                                       20b
21       Did the organization report more than $5,000 of grants or other assistance to any domestic organization or domestic           21              No
         government on Part IX, column (A), line 1' If "Yes, " complete Schedule I, Parts I and II . .   .   .   .
22       Did the organization report more than $5,000 of grants or other assistance to or for domestic individuals on Part IX,         22
         column (A), line 27 If "Yes, " complete Schedule I, Parts I and III .                                                                         No

23       Did the organization answer "Yes" to Part VII, Section A, line 3, 4, or 5 about compensation of the organization's
         current and former officers, directors, trustees, key employees, and highest compensated employees? If "Yes,"                 23              No
         complete Schedule J .      .   .   .   .    .   .   .  .   .   .   .   .   .   .   .  .   .  .    .   .   .   .
24a Did the organization have a tax-exempt bond issue with an outstanding principal amount of more than $100,000 as of
    the last day of the year, that was issued after December 31, 20027 If "Yes,"answer lines 24b through 24d and
    complete Schedule K If "No,"go to line 25a .       .  .  .   .   .   .   .  .   .   .   .   .  .                                                   No
                                                                                                                                       24a
     b   Did the organization invest any proceeds of tax-exempt bonds beyond a temporary period exception?
                                                                                                                                       24b

     c   Did the organization maintain an escrow account other than a refunding escrow at any time during the year
         to defease any tax-exempt bonds? .      .   .  .   .   .   .   .   .   .  .   .   .   .                                       24c
     d   Did the organization act as an "on behalf of" issuer for bonds outstanding at any time during the year?                       24d
25a Section 501(c )( 3), 501 ( c)(4), and 501(c )( 29) organizations.
    Did the organization engage in an excess benefit transaction with a disqualified person during the year? If "Yes,"
    complete Schedule L, Part I .                                                                                                      25a             No

     b   Is the organization aware that it engaged in an excess benefit transaction with a disqualified person in a prior year, and
         that the transaction has not been reported on any of the organization's prior Forms 990 or 990-EZ7                            25b             No
         If "Yes, " complete Schedule L, Part I .   .   .   .  .   .    .   .   .   .   .   .   .   .   .   .   .   .    .
26       Did the organization report any amount on Part X, line 5, 6, or 22 for receivables from or payables to any current or
         former officers, directors, trustees, key employees, highest compensated employees, or disqualified persons?                  26              No
         If "Yes, " complete Schedule L, Part II .    .   .  .   .   .   .   .   .   .   .   .   .   .  .   .
27       Did the organization provide a grant or other assistance to an officer, director, trustee, key employee, substantial
         contributor or employee thereof, a grant selection committee member, or to a 35% controlled entity or family member           27              No
         of any of these persons? If "Yes," complete Schedule L, Part III .     .   .    .   .   .   .   .  .
28       Was the organization a party to a business transaction with one of the following parties (see Schedule L, Part IV
         instructions for applicable filing thresholds, conditions, and exceptions)
     a   A current or former officer, director, trustee, or key employee? If "Yes," complete Schedule L,
         Part IV .     .  .   .    .   .    .   .   .   .   .   .   .  .   .   .    .  .   .  .   .   .      .   .
                                                                                                                                       28a             No
     b   A family member of a current or former officer, director, trustee, or key employee? If "Yes," complete Schedule L, Part
         IV .    .  .  .   .   .                                     .   .   .   .   .  .                                              28b             No
     c   An entity of which a current or former officer, director, trustee, or key employee (or a family member thereof) was an
         officer, director, trustee, or direct or indirect owner? If "Yes, " complete Schedule L, Part IV . . .                        28c             No

29       Did the organization receive more than $25,000 in non-cash contributions? If "Yes," complete Schedule M .                     29              No

30       Did the organization receive contributions of art, historical treasures, or other similar assets, or qualified conservation
         contributions? If "Yes," complete Schedule M .       .    .   .   .   .   .   .   .   .    .   .                              30              No

31       Did the organization liquidate, terminate, or dissolve and cease operations? If "Yes," complete Schedule N, Part I
                                                                                                                                       31              No

32       Did the organization sell, exchange, dispose of, or transfer more than 25% of its net assets?
         If "Yes, " complete Schedule N, Part II .                                                                                     32              No

33       Did the organization own 100% of an entity disregarded as separate from the organization under Regulations sections
         301 7701-2 and 301 7701-3' If "Yes," complete Schedule R, Part I .                                                            33              No

34       Was the organization related to any tax-exempt or taxable entity? If "Yes," complete Schedule R, Part II, III, or IV, and
         Part V, line 1 .  .   .   .   .   .   .  .   .  .    .  .    .   .   .    .   .  .   .  .   .   .   .    .                    34              No


35a Did the organization have a controlled entity within the meaning of section 512(b)(13)'                                            35a             No

     b   If'Yes' to line 35a, did the organization receive any payment from or engage in any transaction with a controlled entity
         within the meaning of section 512(b)(13)' If "Yes," complete Schedule R, Part V, line 2 .        .                            35b             No

36       Section 501(c )( 3) organizations . Did the organization make any transfers to an exempt non-charitable related
         organization? If "Yes," complete Schedule R, Part V, line 2 . .  .   .   .    .  .   .  .   .   .   .                         36
37       Did the organization conduct more than 5% of its activities through an entity that is not a related organization and that
         is treated as a partnership for federal income tax purposes? If "Yes," complete Schedule R, Part VI                           37              No

38       Did the organization complete Schedule 0 and provide explanations in Schedule 0 for Part VI, lines 11b and 197 Note.
         All Form 990 filers are required to complete Schedule 0  .  .   .    .  .   .  .    .   .   .                                 38      Yes

                                                                                                                                             Form 990 (2016)
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                Statements Regarding Other IRS Filings and Tax Compliance
                Check if Schedule 0 contains a response or note to any line in this Part V .                                                                                               ❑
                                                                                                                                                                                    Yes    No
  la Enter the number reported in Box 3 of Form 1096 Enter -0- if not applicable                       .           la                                                   0
     b   Enter the number of Forms W-2G included in line la Enter -0- if not applicable                            lb                                                   0

     c   Did the organization comply with backup withholding rules for reportable payments to vendors and reportable gaming
         (gambling) winnings to prize winners? .    .   .   .   .   .   .   .   .   .  .   .   .  .   .   .   .                                                             lc
  2a Enter the number of employees reported on Form W-3, Transmittal of Wage and
     Tax Statements, filed for the calendar year ending with or within the year covered by
     this return .   .    .   .   .   .   .   .   .  .   .   .   .   .   .   .   .                                 2a                                                   0
     b   If at least one is reported on line 2a, did the organization file all required federal employment tax returns?                                                     2b
         Note .If the sum of lines la and 2a is greater than 250, you may be required to e-file (see instructions)
  3a Did the organization have unrelated business gross income of $1,000 or more during the year?                                   .       .       .                       3a              No
     b   If "Yes," has it filed a Form 990-T for this year7If "No" to line 3b, provide an explanation in Schedule 0 .                                           .   .       3b
  4a At any time during the calendar year, did the organization have an interest in, or a signature or other authority over, a
     financial account in a foreign country (such as a bank account, securities account, or other financial account)?
                                                                                                                                                                            4a              No
     b   If "Yes," enter the name of the foreign country ^
         See instructions for filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR)


  5a Was the organization a party to a prohibited tax shelter transaction at any time during the tax year?                                      .           .               5a              No
     b   Did any taxable party notify the organization that it was or is a party to a prohibited tax shelter transaction?                                                   5b              No

     c   If "Yes," to line 5a or 5b, did the organization file Form 8886-T7                                                                             .
                                                                                                                                                                            Sc
  6a Does the organization have annual gross receipts that are normally greater than $100,000, and did the organization                                                     6a              No
     solicit any contributions that were not tax deductible as charitable contributions? .    .
     b   If "Yes," did the organization include with every solicitation an express statement that such contributions or gifts were
         not tax deductible? .                                       .   .   .  .   .   .  .   .   .   .   .                                                                6b
  7      Organizations that may receive deductible contributions under section 170(c).
     a   Did the organization receive a payment in excess of $75 made partly as a contribution and partly for goods and services                                            7a              No
         provided to the payor7 .                                                                           .
     b   If "Yes," did the organization notify the donor of the value of the goods or services provided?                        .                                           7b
     c   Did the organization sell, exchange, or otherwise dispose of tangible personal property for which it was required to file
         Form 8282? .                                                              .   .   .   .   .   .   .   .                                                            7c              No
     d   If "Yes," indicate the number of Forms 8282 filed during the year         .       .       .               7d


     e   Did the organization receive any funds, directly or indirectly, to pay premiums on a personal benefit contract?
                                                                                                                                                                            7e              No
  f      Did the organization, during the year, pay premiums, directly or indirectly, on a personal benefit contract?                                           .           7f              No
     g   If the organization received a contribution of qualified intellectual property, did the organization file Form 8899 as
         required? .      .  .   .   .   .   .    .   .   .   .    .   .    .   .   .   .   .   .   .   .                                                                   7g
     h   If the organization received a contribution of cars, boats, airplanes, or other vehicles, did the organization file a Form
         1098-C? .       .  .   .   .   .   .    .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .                                                         7h
  8      Sponsoring organizations maintaining donor advised funds.
         Did a donor advised fund maintained by the sponsoring organization have excess business holdings at any time during
         the year? .    .   .   .   .  .   .   .   .  .   .   .   .   .   .  .   .   .  .   .   .   .   .
                                                                                                                                                                             8              No
  9a Did the sponsoring organization make any taxable distributions under section 4966?                    .   .            .                                               9a
     b   Did the sponsoring organization make a distribution to a donor, donor advisor, or related person?                              .       .           .               9b
10       Section 501(c )( 7) organizations. Enter
     a   Initiation fees and capital contributions included on Part VIII, line 12      .                       10a
     b   Gross receipts, included on Form 990, Part VIII, line 12, for public use of club facilities           10b
11       Section 501(c)(12) organizations. Enter
     a   Gross income from members or shareholders         .   .   .   .   .   .       .       .               Ila
     b   Gross income from other sources (Do not net amounts due or paid to other sources
         against amounts due or received from them ) .    .  .   .   .   .   .   .   .                         ilb

12a Section 4947(a)(1) non-exempt charitable trusts. Is the organization filing Form 990 in lieu of Form 1041'                                                              12a
     b   If "Yes," enter the amount of tax-exempt interest received or accrued during the year
                                                                                                               12b

13       Section 501(c )( 29) qualified nonprofit health insurance issuers.


     a   Is the organization licensed to issue qualified health plans in more than one state7Note . See the instructions for
         additional information the organization must report on Schedule 0                                                                                                  13a
     b   Enter the amount of reserves the organization is required to maintain by the states in
         which the organization is licensed to issue qualified health plans                                    13b

     c   Enter the amount of reserves on hand      .                                                           13c
14a Did the organization receive any payments for indoor tanning services during the tax year?                          .           .                                       14a             No
     b   If "Yes," has it filed a Form 720 to report these payments7If "No," provide an explanation in Schedule 0 .                                                         14b
                                                                                                                                                                                  Form 990 (2016)
Form 990 ( 2016)                                                                                                                                                                                                                                                                                              Page 6

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     Governance , Management , and DisclosureFor each "Yes" response to lines 2 through 7b below, and for a "No" response to lines
     8a, 8b, or IOb below, describe the circumstances, processes, or changes in Schedule 0 See instructions
               Check if Schedule 0 contains a response or note to any line in this Part VI                                                             .           .               .            .               .           .                   .               .       .       .       .        .      .
  Section A. Governinci Bodv and Management
                                                                                                                                                                                                                                                                                                       Yes    No
  is Enter the number of voting members of the governing body at the end of the tax year
                                                                                                                                                                                   la                                                                                               5

         If there are material differences in voting rights among members of the governing
         body, or if the governing body delegated broad authority to an executive committee or
         similar committee, explain in Schedule 0
     b   Enter the number of voting members included in line la, above, who are independent
                                                                                                                                                                                   lb                                                                                               4
  2      Did any officer, director, trustee, or key employee have a family relationship or a business relationship with any other
         officer, director, trustee, or key employee? .     .  .   .   .   .   .   .   .    .                                                                                                                                                                                               2          Yes
  3      Did the organization delegate control over management duties customarily performed by or under the direct supervision
                                                                                                                                                                                                                                                                                            3                  No
         of officers, directors or trustees, or key employees to a management company or other person? .
  4      Did the organization make any significant changes to its governing documents since the prior Form 990 was filed?
           .                                                                                                                                                                                                                                                                                4                  No
  5      Did the organization become aware during the year of a significant diversion of the organization's assets?                                                                                                                                                                         5                  No
  6      Did the organization have members or stockholders?               .       .           .        .       .               .           .           .           .               .            .               .           .                   .                                           6          Yes
  7a Did the organization have members, stockholders, or other persons who had the power to elect or appoint one or more
     members of the governing body? .     .   .   .   .   .   .   .   .  .   .  .   .  .    .   .   .   .   .                                                                                                                                                                               7a         Yes
     b   Are any governance decisions of the organization reserved to (or subject to approval by) members, stockholders, or                                                                                                                                                                 7b                 No
         persons other than the governing body?                                                                         .
  8      Did the organization contemporaneously document the meetings held or written actions undertaken during the year by
         the following
   a     The governing body?     .   .   .   .   .   .    .   .       .       .           .        .       .               .           .           .           .               .            .               .           .                   .                                               8a         Yes
     b   Each committee with authority to act on behalf of the governing body?                                     .               .           .           .           .                .               .           .               .                   .           .                       8b         Yes
  9      Is there any officer, director, trustee, or key employee listed in Part VII, Section A, who cannot be reached at the
         organization's mailing address? If "Yes," provide the names and addresses in Schedule 0 .         .  .   .   .   .                                                                                                                                                                 9                  No
  Section B. Policies (This Section B requests Information about policies not required by the Internal Revenue Code.)
                                                                                                                                                                                                                                                                                                       Yes    No
10a Did the organization have local chapters, branches, or affiliates?                             .                                                                                                                                                        .                           10a                    No
     b   If "Yes," did the organization have written policies and procedures governing the activities of such chapters, affiliates,
         and branches to ensure their operations are consistent with the organization's exempt purposes?                                                                                                                                                                                10b

Ila Has the organization provided a complete copy of this Form 990 to all members of its governing body before filing the
    form? .                                                                                                          .                                                                                                                                                                  Ila            Yes
     b   Describe in Schedule 0 the process, if any, used by the organization to review this Form 990                                                                                                                           .
12a Did the organization have a written conflict of interest policy? If "No,"go to line 13 .                                                                                                                                                        .                                   12a            Yes
     b   Were officers, directors, or trustees, and key employees required to disclose annually interests that could give rise to
         conflicts? .                                                                                                    .                                                                                                                                                              12b            Yes
   c     Did the organization regularly and consistently monitor and enforce compliance with the policy? If "Yes," describe in
         Schedule 0 how this was done .      .   .    .   .  .   .   .  .   .   .   .  .   .   .   .    .   .   .                                                                                                                                                                       12c            Yes
13       Did the organization have a written whistleblower policy?                    .                                                                                                             .                                                                                       13         Yes
14       Did the organization have a written document retention and destruction policy?                                                                                                                                                                                                     14         Yes
15       Did the process for determining compensation of the following persons include a review and approval by independent
         persons, comparability data, and contemporaneous substantiation of the deliberation and decision?
   a     The organization's CEO, Executive Director, or top management official                                        .                                                                                                                .                                               15a            Yes
     b   Other officers or key employees of the organization      .                                                                                                        .                                                                                                            15b                    No
         If "Yes" to line 15a or 15b, describe the process in Schedule 0 (see instructions)
16a Did the organization invest in, contribute assets to, or participate in a joint venture or similar arrangement with a
    taxable entity during the year? .                                                                                                                                                                                                                                       .           16a                    No
     b   If "Yes," did the organization follow a written policy or procedure requiring the organization to evaluate its participation
         in joint venture arrangements under applicable federal tax law, and take steps to safeguard the organization's exempt
         status with respect to such arrangements?
                                                                                                                                                                                                                                                                                        16b
  Section C. Disclosure
17       List the States with which a copy of this Form 990 is required to be
                                                                                                                                       VA
18       Section 6104 requires an organization to make its Form 1023 (or 1024 if applicable), 990, and 990-T (501(c)(3)s only)
         available for public inspection Indicate how you made these available Check all that apply
         ❑ Own website        ❑ Another's website        9 Upon request                           ❑ Other (explain in Schedule 0)
19       Describe in Schedule 0 whether (and if so, how) the organization made its governing documents, conflict of interest
         policy, and financial statements available to the public during the tax year
20       State the name, address, and telephone number of the person who possesses the organization's books and records
                     FISHER 922 Bent Creek Richmond,TX 77406 (281) 342-1932
                                                                                                                                                                                                                                                                                                     Form 990 (2016)
Form 990 (2016)                                                                                                                                                                                 Page 7
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                   Compensation of Officers, Directors , Trustees, Key Employees , Highest Compensated Employees,
                   and Independent Contractors
                   Check if Schedule 0 contains a response or note to any line in this Part VII                            .   .    .   .   .      .       .     .   .   .     .    .   .   .     ❑
   Section A. Officers , Directors , Trustees , Key Employees, and Highest Compensated Employees
la Complete this table for all persons required to be listed Report compensation for the calendar year ending with or within the organization's tax
year
   • List all of the organization' s current officers, directors, trustees (whether individuals or organizations), regardless of amount
of compensation Enter -0- in columns (D), (E), and (F) if no compensation was paid
   • List all of the organization' s current key employees, if any See instructions for definition of "key employee
  • List the organization's five current highest compensated employees (other than an officer, director, trustee or key employee)
who received reportable compensation (Box 5 of Form W-2 and/or Box 7 of Form 1099-MISC) of more than $100,000 from the
organization and any related organizations
   • List all of the organization' s former officers, key employees, or highest compensated employees who received more than $100,000
of reportable compensation from the organization and any related organizations
  • List all of the organization' s former directors or trustees that received, in the capacity as a former director or trustee of the
organization, more than $10,000 of reportable compensation from the organization and any related organizations
List persons in the following order individual trustees or directors, institutional trustees, officers, key employees, highest
compensated employees, and former such persons
❑ Check this box if neither the organization nor any related organization compensated any current officer, director, or trustee
                            (A)                                                (B)                          (C)                         (D )                         ( E)                  (F)
                        Name and Title                                      Average           Position (do not check more            Reportable                   Reportable           Estimated
                                                                           hours per          than one box , unless person         compensation                compensation        amount of other
                                                                           week ( list           is both an officer and a             from the                  from related        compensation
                                                                           any hours                 director/ trustee)             organization               organizations            from the
                                                                          for related                                2 =            (W- 2/1099-                 ( W- 2/1099-       organization and
                                                                                                                          -n
                                                                         organizations            1
                                                                                                  _                                    MISC)                        MISC)                related
                                                                         below dotted                                                                                                organizations
                                                                              line)                        -
                                                                                                                   r. 0


                                                                                                               D

                                                                                                    I•                ^^




(1) EDWARD J BLUM                                                                   15 00
......................................................................    """"""""'             X          X         X                      48,000                             0                      0
President

(2) RICHARD FISHER                                                                    1 00
......................................................................     ................     X          X                                           0                       0                      0
Treasurer

(3) ABIGAIL FISHER                                                                    1 00
......................................................................     ................     X          X                                           0                       0                      0
Secretary

(4) ED CHEN                                                                           1 00
......................................................................     ................     x                                                      0                       0                      0
Director

(5) JOE ZHOU                                                                          1 00
......................................................................     ................     x                                                      0                       0                      0
Director




                                                                                                                                                                                   Form 990 (2016)
Form 990 (2016)                                                                                                                                               Page 8
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              Section A. Officers, Directors , Trustees , Key Employees , and Highest Compensated Employees (continued)
                    (A)                            (B)                      (C)                             (D)                    (E)                      (F)
                Name and Title                  Average       Position (do not check more               Reportable              Reportable              Estimated
                                               hours per      than one box, unless person             compensation            compensation          amount of other
                                               week (list        is both an officer and a                from the              from related          compensation
                                               any hours             director/trustee)               organization (W-       organizations (W-            from the
                                              for related                           2, = T            2/1099-MISC)            2/1099-MISC)          organization and
                                             organizations       1              I   ?,L                                                                   related
                                             below dotted                                                                                             organizations
                                                  line)                                         I,


                                                                  (_o                   D
                                                                  ,I!       _               t
                                                                  I•
                                                                            :




lb Sub - Total .   .   .  .   .  . .   .   .  .   .   .  .              .       .   .       ^
 c Total from continuation sheets to Part VII, Section A .                                  ^
 d Total ( add lines lb and 1c )                                                            ^               48,000

2     Total number of individuals (including but not limited to those listed above) who received more than $100,000
      of reportable compensation from the organization ^ 0

                                                                                                                                                               No
       Did the organization list any former officer, director or trustee, key employee, or highest compensated employee on
       line la? If "Yes," complete Schedule J for such individual .     .   .   .  .   .   .   .   .   .  .   .                                 3               No
      For any individual listed on line la, is the sum of reportable compensation and other compensation from the
      organization and related organizations greater than $150,000? If "Yes," complete Schedule J for such
      individual .    .   .    .   .   .    .    .  .   .   .   .   .   .   .  .   .  .   .   .   .  .   .   .   .                .             4               No
       Did any person listed on line la receive or accrue compensation from any unrelated organization or individual for
       services rendered to the organization?lf "Yes," complete Schedule J for such person .                                                    5               No
    Section B. Independent Contractors
1     Complete this table for your five highest compensated independent contractors that received more than $100,000 of compensation
      from the organization Report compensation for the calendar year ending with or within the organization's tax year
                                                (A)                                                                          (B)                           (C)
                                      Name and business address                                                    Description of services            Compensation
Consovoy McCarthy PLLC                                                                                      Legal and etc                                   1,028,738

3033 Wilson Blvd Suite 700
Arlington, VA 22201
Burns & Levinson                                                                                            Legal and etc                                    103,860

125 Summer St
Boston, MA 02110




 2 Total number of independent contractors ( including but not limited to those listed above) who received more than $ 100,000 of
   compensation from the organization ^ 2
                                                                                                                                                    Form 990 (2016)
Form 990 (2016)                                                                                                                                                                                    Page
                              Case 1:14-cv-14176-ADB
                             Statement of Revenue                                                                       Document 419-92 Filed 06/15/18 Page 10 of 29
                             Check if Schedule 0 contains a response or note to any line in this Part VIII                                                                                           ❑
                                                                                            (A)                                                                  (B)          (C)             (D)
                                                                                      Total revenue                                                           Related or   Unrelated        Revenue
                                                                                                                                                               exempt       business     excluded from
                                                                                                                                                               function     revenue    tax under sections
                                                                                                                                                               revenue                      512-514
                la Federated campaigns                                    .                      la

                    b Membership dues                     .                                      lb                               300

                    c Fundraising events .                                                       lc
          E
       a            d Related organizations                                                      id
                    e Government grants (contributions)                                          le

          A         I    All other contributions, gifts, grants,
 p                       and similar amounts not included
                                                                                                 if                          1,106,722
          61             above

       0            g Noncash contributions included
                      in lines la-1f $

U o                 h Total.Add lines la-1f                                                                                   ^               1,107,022
                                                                                                                              Business Code
               2a
     ti

                 b
                C

                d

                e
     M
                f All other program service revenue
     0
                gTotal.Add lines 2a-2f .                                                                  ^

               3 Investment income (including dividends, interest, and other
                 similar amounts) .                                         ^
               4 Income from investment of tax-exempt bond proceeds                                                                      ^
               5 Royalties         .      .   .               .               .         .   .    .        .    .         .               ^
                                                                                      (i) Real                 (ii) Personal
               6a Gross rents

                    b Less     rental expenses


                 c       Rental income or
                         (loss)

                 d Net rental income o r (loss)                                         .    .   .                                  ^
                                                                          (i) Securities                               (ii) Other
               7a Gross amount
                        from sales of
                        assets other
                        than inventory

                    b Less cost or
                         other basis and
                         sales expenses
                 C       Gain or (loss)
                 d Net gain or (loss)                 .                                                                             ^
               8a Gross income from fundraising events
  y               (not including $                 of
                        contributions reported on line 1c)
                        See Part IV, line 18 .    .   .    .                                          a

  cc                b Less direct expenses                            .                               b
                 c Net income or (loss) from fundraising ev ents .                                                                  ^
 w             9a Gross income from gaming activities
 0                See Part IV, line 19 .     .
                                                                                                      a
                    b Less direct expenses                            .                               b
                 c Net income or (loss) from gaming activit ies .                                                                   ^
               lOaGross sales of inventory, less
                   returns and allowances .      .
                                                                                                      a
                    b Less cost of goods sold                                     .                   b

                 c Net income or (loss) from sales of inventory                                                    .                ^
                                Miscellaneous Revenue                                                         Business Code
               I la



                    b



                 C



                 dAll other revenue               .               .
                 eTotal . Add lines 11a-11d                                                                                         ^

               12 Total revenue . See Instructions                                                                                  ^
                                                                                                                                                  1,107,022
                                                                                                                                                                                        Form 990 (2016)
Form 990 (2016)                                                                                                                                                                                                               Page 10
                      Case 1:14-cv-14176-ADB
                    Statement of Functional Expenses                                                                Document 419-92 Filed 06/15/18 Page 11 of 29
Section 501(c)(3) and 501(c)(4) organizations must complete all columns All other organizations must complete column (A)

               Check iF Schedule n contains a res V onse or note to                                                         , Y line in this Part IX   .    .     .    .     .       .   .   .    .    .    .   .     .   .     ❑
Do not include amounts reported on lines 6b,                                                                                            (A)                     (B)                           (C)                       (D)
                                                                                                                                                           Program service               Management and
7b, 8b , 9b, and 10b of Part VIII .                                                                                               Total expenses                                                                Fundraisingexpenses
                                                                                                                                                                expenses                 general expenses
  1 Grants and other assistance to domestic organizations and
    domestic governments See Part IV, line 21
  2 Grants and other assistance to domestic individuals See Part
    IV, line 22

  3 Grants and other assistance to foreign organizations, foreign
    governments, and foreign individuals See Part IV, line 15
    and 16
  4 Benefits paid to or for members
  5 Compensation of current officers, directors, trustees, and                                                                                48,000                             0                    24,000                   24,000
    key employees   .            .

  6 Compensation not included above, to disqualified persons (as
    defined under section 4958(f)(1)) and persons described in
    section 4958(c)(3)(B)   .       .
  7 Other salaries and wages
  8 Pension plan accruals and contributions (include section 401
    (k) and 403(b) employer contributions) .
  9 Other employee benefits                             .                                           .
10 Payroll taxes                        .                                                                           .
11 Fees for services (non-employees)
   a Management                         .                                   .
     b Legal    .                                                                                                                          1,171,512                  1,171,512                             0                         0

   c Accounting                     .                                               .
   d Lobbying               .                                                                       .
   e Professional fundraising services See Part IV, line 17
   f Investment management fees                                         .                                       .
   g Other (If line 11g amount exceeds 10% of line 25, column
     (A) amount, list line 11g expenses on Schedule 0)
12 Advertising and promotion                                    .                   .
13       Office expenses                                                                                                                       1,557                             0                     1,557                          0

14       Information technology                                                                                                               16,574                       16,574                           0                         0

15 Royalties
16 Occupancy
17 Travel           .           .           .   .   .       .       .           .       .                                                     12,267                             0                          0                  12,267

18 Payments of travel or entertainment expenses for any
   federal, state, or local public officials .
19       Conferences, conventions, and meetings                                             .           .   .           .                     12,268                             0                          0                  12,268

20 Interest             .                                                                       .
21 Payments to affiliates
22 Depreciation, depletion, and amortization
23 Insurance                    .               .
24 Other expenses Itemize expenses not covered above (List
   miscellaneous expenses in line 24e If line 24e amount
   exceeds 10% of line 25, column (A) amount, list line 24e
   expenses on Schedule 0
     a
     b
     c
     d
     e All other expenses
25 Total functional expenses . Add lines 1 through 24e                                                                                     1,262,178                  1,188,086                       25,557                   48,535

26 Joint costs . Complete this line only if the organization
   reported in column (B) joint costs from a combined
   educational campaign and fundraising solicitation
         Check here ^                       ❑ if following SOP 98-2 (ASC 958-720)
                                                                                                                                                                                                                    Form 990 (2016)
Form 990 (2016)                                                                                                                                                                                                                                                                   Page 11
                    CaseSheet
                  Balance 1:14-cv-14176-ADB                                                                                                 Document 419-92 Filed 06/15/18 Page 12 of 29
                Check if Schedule 0 contains a response or note to any line in this Part IX
                                                                                                                                                                                                                                             (A)                        (B)
                                                                                                                                                                                                                                      Beginning of year             End of year

        1       Cash-non-interest-bearing                           .                                                                                                                                                                               281,088    1                  125,932
        2       Savings and temporary cash investments                                                                                                                                                                                                         2
        3       Pledges and grants receivable, net                                                  .                                                                                                                                                         3
        4       Accounts receivable, net                .                   .       .                   .               .           .           .           .           .               .                   .                                                 4
        5       Loans and other receivables from current and former officers, directors,
                trustees, key employees, and highest compensated employees Complete Part                                                                                                                                                                      5
                II of Schedule L
        6       Loans and other receivables from other disqualified persons (as defined under
                section 4958(f)(1)), persons described in section 4958(c)(3)(B), and
                contributing employers and sponsoring organizations of section 501(c)(9)                                                                                                                                                                      6
                voluntary employees' beneficiary organizations (see instructions) Complete
                Part II of Schedule L
        7       Notes and loans receivable, net .                                                                                                                                                                                                             7
        8       Inventories for sale or use                     .                                                                                                                                                                                             8
        9       Prepaid expenses and deferred charges                                                                                                                                                                                                         9
       10a      Land, buildings, and equipment cost or other
                basis Complete Part VI of Schedule D                                                                                            10a

            b   Less accumulated depreciation                                                                                                   10b                                                                                                           10c
       11       Investments-publicly traded securities                                                              .                                                                                                                                         11
       12       Investments-other securities See Part IV, line 11                                                                                                                                                                                             12
       13       Investments-program-related See Part IV, line 11                                                                                            .                                                                                                 13
       14       Intangible assets       .           .       .                   .       .                   .               .           .           .           .           .               .                   .                                             14
       15       Other assets See Part IV, line 11                                               .                                                                                                                                                             15
       16       Total assets.Add lines 1 through 15 (must equal line 34)                                                                                                            .                                                               281,088   16                  125,932
       17       Accounts payable and accrued expenses                                                                                                                                                                                                         17
       18       Grants payable      .           .                                                                                                                                                                                                             18
       19       Deferred revenue            .                                                                                                                                                                                                                 19
       20       Tax-exempt bond liabilities                             .                                                                                                                                                                                     20
       21       Escrow or custodial account liability Complete Part IV of Schedule D                                                                                                                                                                          21
 A 22           Loans and other payables to current and former officers, directors, trustees,
 0              key employees, highest compensated employees, and disqualified
 cZ             persons Complete Part II of Schedule L                                                              .                                                                                                                                         22
       23       Secured mortgages and notes payable to unrelated third parties                                                                                                                                      .                                         23
       24       Unsecured notes and loans payable to unrelated third parties                                                                                                                        .                                                         24

       25       Other liabilities (including federal income tax, payables to related third parties,                                                                                                                                                           25
                and other liabilities not included on lines 17-24)
                Complete Part X of Schedule D
       26       Total liabilities .Add lines 17 through 25                                                                      .                                                                                                                         0   26                        0

                Organizations that follow SFAS 117 ( ASC 958 ), check here ^                                                                                                                                                    and
                complete lines 27 through 29, and lines 33 and 34.
       27       Unrestricted net assets                                                                                                                                                                                                             281,088   27                  125,932
       28       Temporarily restricted net assets                                           .                   .               .           .           .           .           .               .                   .                                         28
       29       Permanently restricted net assets                                                                                                                                                                                                             29
                Organizations that do not follow SFAS 117 (ASC 958),
 LL_
  0             check here ^ ❑ and complete lines 30 through 34.
       30       Capital stock or trust principal, or current funds                                                                                                                                                                                            30
 0     31       Paid-in or capital surplus, or land, building or equipment fund                                                                                                                         .               .   .                                 31
 s
 Q     32       Retained earnings, endowment, accumulated income, or other funds                                                                                                                                                                              32
       33       Total net assets or fund balances                                                                                                                                                                                                   281,088   33                  125,932
 Z     34       Total liabilities and net assets/fund balances                                                                          .           .           .           .               .                   .                                   281,088   34                  125,932
                                                                                                                                                                                                                                                                     Form 990 (2016)
Form 990 (2016)                                                                                                                                                                                                                                                                                                                                               Page 12
                   Case 1:14-cv-14176-ADB
                Reconcilliation of Net Assets                                                 Document 419-92 Filed 06/15/18 Page 13 of 29
                Check if Schedule 0 contains a response or note to any line in this Part XI                                                                                                                               .                   .                   .                       .                   .       .   .   .    .   .   .    .    .    .       ❑


 1       Total revenue (must equal Part VIII, column (A), line 12)                                                    .               .               .               .               .               .               .                   .                   .                       .                   .                       1                       1,107,022
 2       Total expenses (must equal Part IX, column (A), line 25)                                                 .               .               .               .               .               .               .                   .                   .                       .                   .                           2                       1,262,178
 3       Revenue less expenses Subtract line 2 from line 1                                    .           .               .               .               .               .               .               .                   .                   .                       .                   .                                   3                       -155,156
 4       Net assets or fund balances at beginning of year (must equal Part X, line 33, column (A))                                                                                                                                                                    .                                                           4                           281,088
 5       Net unrealized gains (losses) on investments                             .       .           .           .               .               .               .               .               .               .                   .                   .                       .                   .                           5
 6       Donated services and use of facilities                   .                                                                                                                                                                                                                                                               6
 7       Investment expenses     .       .        .       .       .       .       .       .           .           .               .               .               .               .               .               .                   .                   .                       .                   .                           7
 8       Prior period adjustments    .        .       .       .       .       .       .           .           .               .               .               .               .               .               .                   .                   .                       .                   .               .               8
 9       Other changes in net assets or fund balances (explain in Schedule 0)                                                                                         .               .               .               .                   .                   .                                                                   9
 10      Net assets or fund balances at end of year Combine lines 3 through 9 (must equal Part X, line 33, column (B))                                                                                                                                                                                                            10                          125,932
                 Financial Statements and Reporting
                 Check if Schedule 0 contains a response or note to                                                                       line in this Part XII
                                                                                                                                                                                                                                                                                                                                                    Yes         N.

  1      Accounting method used to prepare the Form 990            ❑ Cash      2 Accrual     ❑ Other
         If the organization changed its method of accounting from a prior year or checked "Other," explain in
         Schedule 0
  2a Were the organization's financial statements compiled or reviewed by an independent accountant?                                                                                                                                                                                                                                       2a                   No
         If'Yes,' check a box below to indicate whether the financial statements for the year were compiled or reviewed on a
         separate basis, consolidated basis, or both

           ❑ Separate basis                  ❑ Consolidated basis                                                 ❑ Both consolidated and separate basis

     b   Were the organization's financial statements audited by an independent accountant?                                                                                                                                                                                                                                                2b                   No
         If'Yes,' check a box below to indicate whether the financial statements for the year were audited on a separate basis,
         consolidated basis, or both

           ❑ Separate basis                  ❑ Consolidated basis                                                 ❑ Both consolidated and separate basis

     c   If "Yes," to line 2a or 2b, does the organization have a committee that assumes responsibility for oversight
         of the audit, review, or compilation of its financial statements and selection of an independent accountant?                                                                                                                                                                                                                      2c
         If the organization changed either its oversight process or selection process during the tax year, explain in Schedule 0


  3a As a result of a federal award, was the organization required to undergo an audit or audits as set forth in the Single
     Audit Act and OMB Circular A-133?                                                                                                                                                                                                                                                                                                     3a                   No
     b   If "Yes," did the organization undergo the required audit or audits? If the organization did not undergo the required
         audit or audits, explain why in Schedule 0 and describe any steps taken to undergo such audits                                                                                                                                                                                                                                    3b
                                                                                                                                                                                                                                                                                                                                                Form 990 (2016)
 Additional Data
                  Case 1:14-cv-14176-ADB Document 419-92 Filed 06/15/18 Page 14 of 29
                                                           Software ID:      16000371
                                                    Software Version:
                                                                     EIN:   XX-XXXXXXX
                                                                  Name :    Students For Fair Admissions Inc

Form 990 (2016)
Form 990 , Part III , Line 4a:
CORPORATION LITIGATED TWO LAWSUITS IN FEDERAL DISTRICT COURT AGAINST HARVARD UNIVERSITY AND THE UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL,
ALLEGING THAT THESE UNIVERSITIES ARE VIOLATING THE FOURTEENTH AMENDMENT AND TITLE VI OF THE CIVIL RIGHTS ACT OF 1964 BY ENGAGING IN RACIAL
DISCRIMINATION IN THEIR ADMISSIONS PROCESSES
l efile GRAPHIC p rint - DO NOT PROCESS                 I As Filed Data - I                                                  DLN: 93493318129457
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                                                                                      29No                                                      1545-0047
SCHEDULE A                                 Public Charity Status and Public Support
(Form 990 or                           Complete if the organization is a section 501(c)(3) organization or a section
990EZ)                                                   4947( a)(1) nonexempt charitable trust.                                         2016
                                                          ^ Attach to Form 990 or Form 990-EZ.
Department of the Trea^un          10, Information about Schedule A (Form 990 or 990-EZ) and its instructions is at                     • '

Name of the organization                                                                                         Employer identification number
Students For Fair Admissions Inc
                                                                                                         X47-1689810
              Reason for Public Charity Status (All organizations must complete this part.) See instructions.
The organization is not a private foundation because it is (For lines 1 through 12, check only one box )
  1            A church, convention of churches, or association of churches described in section 170(b)(1)(A)(i).
  2            A school described in section 170 (b)(1)(A)(ii). (Attach Schedule E (Form 990 or 990-EZ))
  3            A hospital or a cooperative hospital service organization described in section 170(b )( 1)(A)(iii).
  4            A medical research organization operated in conjunction with a hospital described in section 170 (b)(1)(A)(iii). Enter the hospital's
               name. city. and state
  5            An organization operated for the benefit of a college or university owned or operated by a governmental unit described in section 170
               (b)(1)(A)(iv ). (Complete Part II )
  6            A federal, state, or local government or governmental unit described in section 170(b )( 1)(A)(v).
  7            An organization that normally receives a substantial part of its support from a governmental unit or from the general public described in
               section 170 ( b)(1)(A)(vi ). (Complete Part II )
  8            A community trust described in section 170 ( b)(1)(A)(vi ) (Complete Part II )
  9            An agricultural research organization described in 170 ( b)(1)(A)(ix ) operated in conjunction with a land-grant college or university or a
               non-land grant college of agriculture See instructions Enter the name, city, and state of the college or university

10      Q      An organization that normally receives (1) more than 331/3% of its support from contributions, membership fees, and gross receipts
               from activities related to its exempt functions-subject to certain exceptions, and (2) no more than 331/3% of its support from gross
               investment income and unrelated business taxable income (less section 511 tax) from businesses acquired by the organization after June
               30, 1975 See section 509 (a)(2). (Complete Part III )
11             An organization organized and operated exclusively to test for public safety See section 509(a)(4).
12             An organization organized and operated exclusively for the benefit of, to perform the functions of, or to carry out the purposes of one or
               more publicly supported organizations described in section 509(a)(1) or section 509(a )(2). See section 509(a )(3). Check the box
               in lines 12a through 12d that describes the type of supporting organization and complete lines 12e, 12f, and 12g
  a           Type I. A supporting organization operated, supervised, or controlled by its supported organization(s), typically by giving the supported
              organization(s) the power to regularly appoint or elect a majority of the directors or trustees of the supporting organization You must
              complete Part IV, Sections A and B.
  b           Type II. A supporting organization supervised or controlled in connection with its supported organization(s), by having control or
              management of the supporting organization vested in the same persons that control or manage the supported organization(s) You
              must complete Part IV, Sections A and C.
  c           Type III functionally integrated . A supporting organization operated in connection with, and functionally integrated with, its
              supported organization(s) (see instructions) You must complete Part IV, Sections A, D, and E.
  d           Type III non - functionally integrated . A supporting organization operated in connection with its supported organization(s) that is not
              functionally integrated The organization generally must satisfy a distribution requirement and an attentiveness requirement (see
              instructions) You must complete Part IV, Sections A and D, and Part V.
  e            Check this box if the organization received a written determination from the IRS that it is a Type I, Type II, Type III functionally
               integrated, or Type III non-functionally integrated supporting organization
  f    Enter the number of supported organizations
  g   Provide the following information about the supported organization(s)
 (i)Name of supported organization       (ii)EIN         (iii) Type of                  (iv)                             (v)                    (vi)
                                                         organization       Is the organization listed in            Amount of           Amount of other
                                                     (described on lines    your governing document?              monetary support         support (see
                                                      1- 10 above (see                                            (see instructions)       instructions)
                                                        instructions))



                                                                                      Yes              No




Tota
For Paperwork Reduction Act Notice , see the Instructions for                   Cat No 11285F                  Schedule A (Form 990 or 990-EZ) 2016
Form 990 or 990-EZ.
Schedule A (Form 990 or 990-EZ) 2016                                                                                                                                                                   Page 2
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                    Support Schedule for Organizations Described in Sections 170(b)(1)(A)(iv) and 170(b)(1)(A)(vi)
                    (Complete only if you checked the box on line 5, 7, 8, or 9 of Part I or if the organization failed to qualify under Part
                    III. If the organization fails to qualify under the tests listed below, please complete Part III.)
    Section A. Public Su pp ort
                   Calendar year
                                                   (a)2012           (b)2013                                         (c)2014                          (d)2015                (e)2016              (f)Total
        (or fiscal year beginning in) ^
1      Gifts, grants, contributions, and
       membership fees received (Do not
       include any "unusual grant ')
2     Tax revenues levied for the
      organization's benefit and either paid
      to or expended on its behalf
3     The value of services or facilities
      furnished by a governmental unit to
      the organization without charge
4     Total . Add lines 1 through 3
5     The portion of total contributions by
      each person (other than a
      governmental unit or publicly
      supported organization) included on
       line 1 that exceeds 2% of the amount
      shown on line 11, column (f)
6      Public support . Subtract line 5 from
       line 4
     Section B. Total Su pp ort
                   Calendar year
                                                   (a)2012           (b)2013                                          (c)2014                         (d)2015                (e)2016              (f)Total
        (or fiscal year beginning in) ^
         Amounts from line 4
    {    Gross income from interest,
         dividends, payments received on
                                                                                                                                                                                                                0
         securities loans, rents, royalties and
         income from similar sources
         Net income from unrelated business
         activities, whether or not the
         business is regularly carried on
         Other income Do not include gain or
         loss from the sale of capital assets
         (Explain in Part VI )
         Total support . Add lines 7 through
         10
    r Gross receipts from related activities, etc (see instructions)                                                                                                         12
13       First five years . If the Form 990 is for the organization's first, second, third, fourth, or fifth tax year as a section 501(c)(3) organization,
         check this box and stop here     .   .   .   .   .   . . .   .   .   .   .   .   .   .   .   .   .   .   . . .   .   .   .   .   .   .   .    .   .   .   .   . . . .    .   .   . ^ ❑
    Section C . Computation of Public Support Percentage
14       Public support percentage for 2016 (line 6, column (f) divided by line 11, column (f))                                                                              14                              0 0/0
15       Public support percentage for 2015 Schedule A, Part II, line 14                                           15
16a 33 1/3% support test-2016 . If the organization did not check the box on line 13, and line 14 is 33 1/3% or more, check this box
         and stop here . The organization qualifies as a publicly supported organization                                                    ^ ❑
     b    33 1 / 3% support test-2015 . If the organization did not check a box on line 13 or 16a, and line 15 is 33 1/3% or more, check this
      box and stop here . The organization qualifies as a publicly supported organization                                                                                                         ^ ❑
17a 10 %- facts - and-circumstances test-2016 . If the organization did not check a box on line 13, 16a, or 16b, and line 14
    is 10% or more, and if the organization meets the "facts-and-circumstances" test, check this box and stop here . Explain
    in Part VI how the organization meets the "facts-and-circumstances" test The organization qualifies as a publicly supported
         organization                                                                                                                                                                               ^ ❑
     b    10%-facts-and-circumstances test-2015 . If the organization did not check a box on line 13, 16a, 16b, or 17a, and line
          15 is 10% or more, and if the organization meets the "facts-and-circumstances" test, check this box and stop here.
          Explain in Part VI how the organization meets the "facts-and-circumstances" test The organization qualifies as a publicly
          supported organization                                                                                                                                                                    ^ ❑
18       Private foundation . If the organization did not check a box on line 13, 16a, 16b, 17a, or 17b, check this box and see
         instructions                                                                                                                                                                               ^ ❑
Schedule A (Form 990 or 990-EZ) 2016                                                                                                                          Page 3
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INOMW Support Schedule for Organizations Described in Section 509(a)(2)
               (Complete only if you checked the box on line 10 of Part I or if the organization failed to qualify under Part II. If
               the organization fails to qualify under the tests listed below, please complete Part II.)
  Section A. Public Su pp ort
                    Calendar year                      ( a)2012           ( b)2013           (c)2014            ( d)2015           ( e)2016             ( f)Total
         (or fiscal year beginning in) ^
 1        Gifts , grants , contributions, and
          membership fees received ( Do not                                                                           826,234             1,107,022         1,933,256
          include any " unusual grants ")
 2        Gross receipts from admissions,
          merchandise sold or services
          performed , or facilities furnished in
          any activity that is related to the
          organization ' s tax-exempt purpose

 3       Gross receipts from activities that
         are not an unrelated trade or
         business under section 513

 4       Tax revenues levied for the
         organization's benefit and either paid
         to or expended on its behalf
 5       The value of services or facilities
         furnished by a governmental unit to
         the organization without charge
 6       Total . Add lines 1 through 5                                                                                826 ,234            1,107,022         1,933,256
 7a      Amounts included on lines 1, 2, and
         3 received from disqualified persons

     b   Amounts included on lines 2 and 3
         received from other than disqualified
         persons that exceed the greater of
         $5,000 or 1 % of the amount on line
         13 for the year
     c   Add lines 7a and 7b
 8       Public support . ( Subtract line 7c
                                                                                                                                                            1,933,256
         from line 6
  Section B. Total Support
                    Calendar year
                                                       (a)2012             ( b)2013           (c)2014            (d)2015            (e)2016            ( f)Total
         (or fiscal year beginning in) ^
  9        Amounts from line 6                                                                                         826,234          1,107,022           1,933,256
10a        Gross income from interest,
           dividends, payments received on
           securities loans, rents, royalties and
           income from similar sources
  b        Unrelated business taxable income
           (less section 511 taxes) from
           businesses acquired after June 30,
           1975
  c        Add lines 10a and 10b
 11        Net income from unrelated business
           activities not included in line 10b,
           whether or not the business is
           regularly carried on
 12        Other income Do not include gain
           or loss from the sale of capital
           assets (Explain in Part VI )
 13        Total support. (Add lines 9, 10c,
                                                                                                                                                            1,933,256
           11, and 12)
14        First five years . If the Form 990 is for the organization 's first, second, third, fourth, or fifth tax year as a section 501(c)( 3) organization,
          check this box and stoD here                                                                                                                      ^ 2
  Section C . Com p utation of Public Su pp ort Percenta g e
15        Public support percentage for 2016 (line 8, column (f) divided by line 13, column (f))                                     15                             0 0/0
16        Public support percentage from 2015 Schedule A, Part III, line 15                                                          16
  Section D. Com p utation of Investment Income Percenta g e
17        Investment income percentage for 2016 (line 10c, column (f) divided by line 13, column (f))                                17                             0 %
18        Investment income percentage from 2015 Schedule A, Part III, line 17                                                       18
19a 331 / 3% support tests-2016 . If the organization did not check the box on line 14, and line 15 is more than 33 1/3%, and line 17 is not
      more than 33 1/3%, check this box and stop here. The organization qualifies as a publicly supported organization                ^ ❑
     b 33 1 / 3% support tests-2015 . If the organization did not check a box on line 14 or line 19a, and line 16 is more than 33 1/3% and line 18 is
          not more than 33 1/3%, check this box and stop here . The organization qualifies as a publicly supported organization                       ^ ❑
20        Private foundation . If the organization did not check a box on line 14, 19a, or 19b, check this box and see instructions                    ^ ❑
Schedule A (Form 990 or 990-EZ) 2016                                                                                                                  Page 4
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               Supporting Organizations                      Document 419-92 Filed 06/15/18 Page 18 of 29
               (Complete only if you checked a box on line 12 of Part I If you checked 12a of Part I, complete Sections A and B If you checked 12b of
               Part I, complete Sections A and C If you checked 12c of Part I, complete Sections A, D, and E If you checked 12d of Part I, complete
               Sections A and D, and complete Part V
    Section A. All SuoDortina Oraanizations
                                                                                                                                                Yes     No
1       Are all of the organization's supported organizations listed by name in the organization's governing documents?
        If "No, " describe in Part VI how the supported organizations are designated If designated by class or purpose,
        describe the designation If historic and continuing relationship, explain

2       Did the organization have any supported organization that does not have an IRS determination of status under section 509
        (a)(1) or (2)? If "Yes, " explain in Part VI how the organization determined that the supported organization was described
        in section 509(a)(1) or (2)                                                                                                        2

3a      Did the organization have a supported organization described in section 501(c)(4), (5), or (6)7 If "Yes," answer (b) and (c)
        below
                                                                                                                                          3a
    b   Did the organization confirm that each supported organization qualified under section 501(c)(4), (5), or (6) and satisfied
        the public support tests under section 509(a)(2)? If "Yes," describe in Part VI when and how the organization made the
        determination
                                                                                                                                          3b
    c   Did the organization ensure that all support to such organizations was used exclusively for section 170(c)(2)(B) purposes?
        If " Yes, " explain in Part VI what controls the organization put in place to ensure such use
                                                                                                                                          3c
4a      Was any supported organization not organized in the United States ("foreign supported organization")? If "Yes" and if you
        checked 12a or 12b in Part I, answer (b) and (c) below
                                                                                                                                          4a
    b   Did the organization have ultimate control and discretion in deciding whether to make grants to the foreign supported
        organization? If "Yes, " describe in Part VI how the organization had such control and discretion despite being controlled or
                                                                                                                                          4b
        su p ervised b y or in connection with its su pp orted org anizations
    c   Did the organization support any foreign supported organization that does not have an IRS determination under sections
        501(c)(3) and 509(a)(1) or (2)7 If "Yes, " explain in Part VI what controls the organization used to ensure that all support
        to the foreign supported organization was used exclusively for section 170(c)(2)(8) purposes
                                                                                                                                          4c
5a      Did the organization add, substitute, or remove any supported organizations during the tax year? If "Yes," answer (b) and
        (c) below (if applicable) Also, provide detail in Part VI, including (I) the names and EIN numbers of the supported
        organizations added, substituted, or removed, (u) the reasons for each such action, (Ili) the authority under the
        organization ' s organizing document authorizing such action, and (iv) how the action was accomplished (such as by
                                                                                                                                          5a
        amendment to the org anizin g document)
    b   Type I or Type II only . Was any added or substituted supported organization part of a class already designated in the
        organization's organizing document?                                                                                               5b
    c   Substitutions only. Was the substitution the result of an event beyond the organization's control?                                5c
6       Did the organization provide support (whether in the form of grants or the provision of services or facilities) to anyone other
        than (i) its supported organizations, (ii) individuals that are part of the charitable class benefited by one or more of its
        supported organizations, or (iii) other supporting organizations that also support or benefit one or more of the filing
        organization ' s supported organizations? If " Yes, " provide detail in Part VI.                                                   6

7       Did the organization provide a grant, loan, compensation, or other similar payment to a substantial contributor (defined in
        section 4958(c)(3)(C)), a family member of a substantial contributor, or a 35% controlled entity with regard to a
        substantial contributor? If "Yes, " complete Part I of Schedule L (Form 990 or 990-EZ)                                             7

8       Did the organization make a loan to a disqualified person (as defined in section 4958) not described in line 77 If "Yes,"
        complete Part I of Schedule L (Form 990 or 990-EZ)                                                                                 8

9a      Was the organization controlled directly or indirectly at any time during the tax year by one or more disqualified persons as
        defined in section 4946 (other than foundation managers and organizations described in section 509(a)(1) or (2))' If "Yes,"
        provide detail in Part VI.                                                                                                        9a

    b   Did one or more disqualified persons (as defined in line 9a) hold a controlling interest in any entity in which the supporting
        organization had an interest? If "Yes, " provide detail in Part VI.                                                               9b

    c   Did a disqualified person (as defined in line 9a) have an ownership interest in, or derive any personal benefit from, assets in
        which the supporting organization also had an interest? If " Yes, " provide detail in Part VI.                                    9c

10a     Was the organization subject to the excess business holdings rules of section 4943 because of section 4943(f) (regarding
        certain Type II supporting organizations, and all Type III non-functionally integrated supporting organizations)? If "Yes,"
        answer line IOb below
                                                                                                                                          10a
    b   Did the organization have any excess business holdings in the tax year? (Use Schedule C, Form 4720, to determine whether
        the organization had excess business holdings)
                                                                                                                                          10b
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                    Supporting Organizations (continued)Document                     419-92 Filed 06/15/18 Page 19 of 29
                                                                                                                                                      No
11          Has the organization accepted a gift or contribution from any of the following persons?
    a       A person who directly or indirectly controls, either alone or together with persons described in (b) and (c) below, the
            governing body of a supported organization?

    b       A family member of a person described in (a) above?
    c       A 35% controlled entity of a person described in (a) or (b) above? If "Yes" to a, b, or c, provide detail in Part VI

    Section B. Type I Supporting Organizations
                                                                                                                                                      No
            Did the directors, trustees, or membership of one or more supported organizations have the power to regularly appoint or
            elect at least a majority of the organization's directors or trustees at all times during the tax year? If "No, " describe in Part
            VI how the supported organization(s) effectively operated, supervised, or controlled the organization's activities If the
            organization had more than one supported organization, describe how the powers to appoint and/or remove directors or
            trustees were allocated among the supported organizations and what conditions or restrictions, if any, applied to such
            powers during the tax year

            Did the organization operate for the benefit of any supported organization other than the supported organization(s) that
            operated, supervised, or controlled the supporting organization? If "Yes, " explain in Part VI how providing such benefit
            carried out the purposes of the supported organization(s) that operated, supervised or controlled the supporting
            organization


    Section C. Type II Supporting Organizations
                                                                                                                                                      No
            Were a majority of the organization's directors or trustees during the tax year also a majority of the directors or trustees of
            each of the organization's supported organization(s)? If "No, " describe in Part VI how control or management of the
            supporting organization was vested in the same persons that controlled or managed the supported organization(s)




    Section D. All Type III Supporting Organizations
                                                                                                                                                      No
            Did the organization provide to each of its supported organizations, by the last day of the fifth month of the organization's
            tax year, (i) a written notice describing the type and amount of support provided during the prior tax year, (ii) a copy of the
            Form 990 that was most recently filed as of the date of notification, and (iii) copies of the organization's governing
            documents in effect on the date of notification, to the extent not previously provided?


            Were any of the organization's officers, directors, or trustees either (i) appointed or elected by the supported organization
            (s) or (ii) serving on the governing body of a supported organization? If "No," explain in Part VI how the organization
            maintained a close and continuous working relationship with the supported organization(s)


            By reason of the relationship described in (2), did the organization's supported organizations have a significant voice in the
            organization's investment policies and in directing the use of the organization's income or assets at all times during the tax
            year? If "Yes," describe in Part VI the role the organization's supported organizations played in this regard


    Section E . Type III Functionally - Integrated Supporting Organizations
1           Check the box next to the method that the organization used to satisfy the Integral Part Test during the year ( see instructions)
        a          The organization satisfied the Activities Test Complete line 2 below
        b          The organization is the parent of each of its supported organizations Complete line 3 below

        c          The organization supported a governmental entity Describe in Part VI how you supported a government entity (see instructions)


            Activities Test    Answer ( a) and ( b) below.                                                                                       Yes I No
        a Did substantially all of the organization's activities during the tax year directly further the exempt purposes of the
          supported organization(s) to which the organization was responsive? If "Yes," then in Part VI identify those supported
          organizations and explain how these activities directly furthered their exempt purposes, how the organization was
          responsive to those supported organizations, and how the organization determined that these activities constituted
          substantially all of its activities
        b Did the activities described in (a) constitute activities that, but for the organization's involvement, one or more of the
          organization's supported organization (s) would have been engaged in? If "Yes," explain in Part VI the reasons for the
          organization's position that its supported organization(s) would have engaged in these activities but for the organization's
          involvement

            Parent of Supported Organizations          Answer ( a) and ( b) below.
        a Did the organization have the power to regularly appoint or elect a majority of the officers, directors, or trustees of each of
          the supported organizations? Provide details in Part VI.
        b Did the organization exercise a substantial degree of direction over the policies, programs and activities of each of its
          supported organizations? If "Yes," describe in Part VI. the role played by the organization in this regard

                                                                                                                     Schedule A (Form 990 or 990-EZ) 2016
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                                                                         Organizations                                  Page 20 of 29
  1           Check here if the organization satisfied the Integral Part Test as a qualifying trust on Nov 20, 1970 See instructions . All other
              Type III non-functionally integrated supporting organizations must complete Sections A through E

        Section A - Adjusted Net Income                                                                        (A) Prior Year            (B) Current Year
                                                                                                                                            (optional)
  1     Net short-term capital gain                                                                 1
  2     Recoveries of prior-year distributions                                                      2
  3     Other gross income (see instructions)                                                       3
  4     Add lines 1 through 3                                                                       4
  5     Depreciation and depletion                                                                  5
  6     Portion of operating expenses paid or incurred for production or collection of gross        6
        income or for management, conservation, or maintenance of property held for
        production of income (see instructions)
  7     Other expenses (see instructions)                                                           7
  8     Adjusted Net Income (subtract lines 5, 6 and 7 from line 4)                                 8



        Section B - Minimum Asset Amount                                                                       (A) Prior Year            (B) Current Year
                                                                                                                                            (optional)
  1     Aggregate fair market value of all non-exempt-use assets (see instructions for short
        tax year or assets held for part of year)                                                   1
      a Average monthly value of securities                                                        la
      b Average monthly cash balances                                                              lb
      c Fair market value of other non-exempt-use assets                                           Ic
      d Total (add lines la, 1b, and 1c)                                                           id
      e Discount claimed for blockage or other factors
        (explain in detail in Part VI)
  2     Acquisition indebtedness applicable to non-exempt use assets                                2
  3     Subtract line 2 from line ld                                                                3
  4     Cash deemed held for exempt use Enter 1-1/2% of line 3 (for greater amount, see
        instructions)                                                                               4
  5     Net value of non-exempt-use assets (subtract line 4 from line 3)                            5
  6     Multiply line 5 by 035                                                                      6
  7     Recoveries of prior-year distributions                                                      7
  8     Minimum Asset Amount (add line 7 to line 6)                                                 8



        Section C - Distributable Amount                                                                                                  Current Year
  1     Adjusted net income for prior year (from Section A, line 8, Column A)                       1
  2     Enter 85% of line 1                                                                         2
  3     Minimum asset amount for prior year (from Section B, line 8, Column A)                      3
  4     Enter greater of line 2 or line 3                                                           4
  5     Income tax imposed in prior year                                                            5
  6     Distributable Amount . Subtract line 5 from line 4, unless subject to emergency             6
        temporary reduction (see instructions)
  7      R    Check here if the current year is the organization's first as a non-functionally-in tegrat ed Type III supporting org anization (see
              instructions)
                                                                                                                SChPd uIe A (Fnrm 990 nr 990-F7) 707 s
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Section D - Distributions                                                                                                        Current Year

 1      Amounts paid to supported organizations to accomplish exempt purposes

 2      Amounts paid to perform activity that directly furthers exempt purposes of supported organizations, in
        excess of income from activity

 3      Administrative expenses paid to accomplish exempt purposes of supported organizations

 4      Amounts paid to acquire exempt-use assets

 5      Qualified set-aside amounts (prior IRS approval required)

 6      Other distributions (describe in Part VI) See instructions

 7 Total annual distributions . Add lines 1 through 6

 8      Distributions to attentive supported organizations to which the organization is responsive (provide
        details in Part VI) See instructions

 9       Distributable amount for 2016 from Section C, line 6

 10 Line 8 amount divided by Line 9 amount

                                                                                                           (ii)                        (iii)
         Section E - Distribution Allocations (see                            M                    Underdistributions             Distributable
                       instructions)                                 Excess Distributions
                                                                                                        Pre-2016                Amount for 2016
 1 Distributable amount for 2016 from Section C, line
   6
 2 Underdistributions, if any, for years prior to 2016
   (reasonable cause required--see instructions)
 3 Excess distributions carryover, if any, to 2016
    a
    b
    c    From 2013.
    d    From 2014.
    e    From 2015.
    f Total of lines 3a through e
    g    Applied to underdistributions of prior years
    h    Applied to 2016 distributable amount
    i   Carryover from 2011 not applied (see
        instructions)
 j Remainder Subtract lines 3g, 3h, and 3i from 3f
4 Distributions for 2016 from Section D, line 7

    a Applied to underdistributions of prior years
    b Applied to 2016 distributable amount

    c Remainder Subtract lines 4a and 4b from 4
5        Remaining underdistributions for years prior to
         2016, if any Subtract lines 3g and 4a from line 2
        (if amount greater than zero, see instructions)
6        Remaining underdistributions for 2016 Subtract
        lines 3h and 4b from line 1 (if amount greater than
        zero, see instructions)
7        Excess distributions carryover to 2017 . Add lines
        3j and 4c
8       Breakdown of line 7
    a
    b    Excess from 2013.    .   .   .   .   .   .

    c    Excess from 2014.
    d    Excess from 2015.    .   .   .   .   .   .

    e    Excess from 2016.    .   .   .   .   .   .

                                                                                                              Schedule A (Form 990 or 990 -EZ) (2016)
Schedule A (Form 990 or 990-EZ) 2016                                                                                              Page 8
               Case 1:14-cv-14176-ADB Document 419-92 Filed 06/15/18 Page 22 of 29
             Supplemental Information.
             Provide the explanations required by Part II, line 10; Part II, line 17a or 17b; Part III, line 12; Part IV, Section A,
             lines 1, 2, 3b, 3c, 4b, 4c, 5a, 6, 9a, 9b, 9c, 11a, 11b, and 11c; Part IV, Section B, lines 1 and 2; Part IV, Section C,
             line 1; Part IV, Section D, lines 2 and 3; Part IV, Section E, lines 1c, 2a, 2b, 3a and 3b; Part V, line 1; Part V,
             Section B, line le; Part V Section D, lines 5, 6, and 8; and Part V, Section E, lines 2, 5, and 6. Also complete this
             part for any additional information. (See instructions).
                                                     Facts And Circumstances Test
l efile GRAPHIC p rint - DO NOT PROCESS                  I As Filed Data - I                                          DLN: 93493318129457
                    Case 1:14-cv-14176-ADB Document 419-92 Filed 06/15/18 Page 23 ofOMB
                                                                                      29No                                            1545-0047
SCHEDULE 0                          Supplemental Information to Form 990 or 990-EZ
(Form 990 or 990-                      Complete to provide information for responses to specific questions on
                                            Form 990 or 990 -EZ or to provide any additional information.                   2016
EZ)
                                                         ^ Attach to Form 990 or 990-EZ.
                                   ^ Information about Schedule 0 (Form 990 or 990 - EZ) and its instructions is at          • '
Department of the                                             www.irs.gov/form990.
Name of the organization                                                                                     Employer identification number
Students For Fair Admissions Inc
                                                                                                             XX-XXXXXXX
990 Schedule 0, Supplemental Information


     Return                                                                     Explanation
   Reference
  Pt VI, Line       Form 990 was distributed to all directors and officers and to legal counsel for review
  11b
990 Schedule 0, Supplemental Information
                 Case 1:14-cv-14176-ADB Document 419-92 Filed 06/15/18 Page 24 of 29
    Return                                                                          Explanation
  Reference
 Pt VI, Line 2   Officer Richard Fisher is the father of officer , Abigail Fisher
990 Schedule 0, Supplemental Information
               Case 1:14-cv-14176-ADB Document 419-92 Filed 06/15/18 Page 25 of 29
    Return                                                                 Explanation
  Reference
 Pt VI, Line   Legal council requires written executed annual conflict of interest responses
 12c
990 Schedule 0, Supplemental Information
                  Case 1:14-cv-14176-ADB Document 419-92 Filed 06/15/18 Page 26 of 29
    Return                                                    Explanation
  Reference
 Pt VI, Line 7a   Members can elect Member-Elected Director
990 Schedule 0, Supplemental Information
                 Case 1:14-cv-14176-ADB Document 419-92 Filed 06/15/18 Page 27 of 29
    Return                                                         Explanation
  Reference
 Pt VI, Line 6   Organization has 5 officers and 20,000+ members
990 Schedule 0, Supplemental Information
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    Return                                                             Explanation
  Reference
 Pt VI, Line   Organization paid compensation to only one official in 2016 The compensation was approved
 15a           by the disinterested directors after review of the compensation package and information o
               n comparables for similar organizations
990 Schedule 0, Supplemental Information
               Case 1:14-cv-14176-ADB Document 419-92 Filed 06/15/18 Page 29 of 29
    Return                                                           Explanation
  Reference
 Pt VI, Line   Organization paid compensation to only one official
 15b
